Case 2:04-cv-02708-.]PI\/|-STA Document 13 Filed 06/23/05 Page 1 of 2 Page|D 19

¢|l.~§-.) .?v‘ _1@:,,” J`.(.;.

IN THE UNITED sTATEs DlsTRlcT COURT 95 JUN 23 pm L,_ th
FOR THE wEsTERN DIsTRICT oF TENNESSEE

 

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JAMES L.JoNEs, Wo o t v
Plaintiff,
"' case No. 04-2708-M1 An

TENNESSEE AIR NATIONAL GUARD,

Defendaot.

 

ORDER GRANTING ADDITIONAL TIME

 

This cause came on to be heard upon motion of plaintiff to allow him until July 30, 2005,

2005, to file his response to defendant’s motion to dismiss For good cause shown, the Court will

allow the additional days requested by the plaintiff

]."T IS ORDERED THAT counsel is allowed until July 30, 2005, to file the response of

the plaintiff in the above cause.

QQNOM

50 P. MCCALLA, DISTRICT JUDGE
. ____ __
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Thls document entered on the docket .
with Rule 58 and/or 79(3) FHCP on

 

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Honorable J on McCalla
US DISTRICT COURT

